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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

   MARY OGUNTODU                                  §
          Plaintiff,                              §
                                                  §
   v.                                             §            C.A. No. 7:21-CV-00011
                                                  §
   KARA PAINTER, et al.                           §
          Defendants.                             §


        APPENDIX TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT


   Exhibit A:     Emergency Action Center Report, I-00895-01-19, with business record
                  affidavit, Appendix 001 - 037;
   Exhibit B:     Deposition Excerpts of Kara Painter, Appendix 038 – 076;
   Exhibit C:     Surveillance Video, Appendix 077.
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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

   MARY OGUNTODU                            §
         Plaintiff,                         §
                                            §
   v.                                       §             C.A. No. 7:21-CV-00011
                                            §
   KARA PAINTER, et al.                     §
         Defendants.                        §

        EXHIBIT TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT




                          Exhibit A
         Emergency Action Center Report, I-03957-03-19, with business record
         affidavit, Appendix 001 – 037.
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                       IN THE UNITED STATES DISTRICT COURT
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          Defendants.                         §

         EXHIBIT TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT




                           Exhibit B
          Deposition Excerpts of Kara Painter, Appendix 038 – 076.
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
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    MARY OGUNTODU                             §
          Plaintiff,                          §
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    v.                                        §            C.A. No. 7:21-CV-00011
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          Defendants.                         §

         EXHIBIT TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT




                           Exhibit C
          Surveillance Video, Appendix 077.




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